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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                                June 16, 2025
                          SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                               HOUSTON DIVISION

  IN RE:                                            §      CASE NO. 25-30155
                                                    §
  ALLIANCE FARM AND RANCH, LLC,                     §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §
  IN RE:                                            §      CASE NO. 25-31937
                                                    §
  ALLIANCE ENERGY PARTNERS, LLC,                    §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §


ORDER GRANTING COMMITTEE’S MOTION TO FILE UNDER SEAL EXHIBIT C
TO THE EMERGENCY MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

       Upon consideration the Official Committee of Unsecured Creditors (the “Committee”) of

Alliance Farm and Ranch, LLC (the “AFR Debtor”) and Alliance Energy Partners, LLC (the

“AEP Debtor” and together with the AFR Debtor, the “Debtors”) Motion to File Under Seal

Exhibit C to the Emergency Motion for Appointment of Chapter 11 Trustee (the “Motion”),

pursuant to Sections 105(a) and 107(b) Title 11 of the United States Code, 11 U.S.C. §§ 101–1532

(the “Bankruptcy Code”) and Rule 9018 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), requesting authorization to file under seal the settlement agreement

attached as Exhibit C to the Motion (the “Settlement Agreement”) related to the Committee’s

Emergency Motion for Appointment of Chapter 11 Trustee (the “Motion to Appoint Trustee”)

[DE 98]; and the Court having jurisdiction to consider the relief requested therein pursuant to 28

U.S.C. §§ 157 and 1334; and notice of filing of the Motion having been adequate and appropriate

under the circumstances; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:
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       1.     Pursuant to Sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy Rule

9018, and Local Rule 9037-1, the Committee is authorized to file the Exhibit C Settlement

Agreement under seal.

       2.     This Order is without prejudice to the rights of any party-in-interest, including the

Committee, to seek to unseal the Exhibit C Settlement Agreement.

       3.     The Committee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       4.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.



Dated:
Signed:_______________________,
        June 16, 2025           2025

Houston, Texas                                      ______________________________
                                                        _____________________________
                                                    Alfredo R. Perez
                                                        Alfredo
                                                    United StatesRBankruptcy
                                                                   Pérez     Judge
                                                        United States Bankruptcy Judge
